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15
                                   UNITED STATES DISTRICT COURT
16
                                   EASTERN DISTRICT OF CALIFORNIA
17
                                          FRESNO DIVISION
18
     UNITED FARM WORKERS, et al.,                      Case No. 1:25-cv-00246-JLT-BAM
19
                     Plaintiffs,                       [PROPOSED] ORDER GRANTING
20                                                     MOTION FOR PRELIMINARY
               v.                                      INJUNCTION
21
     KRISTI NOEM, IN HER OFFICIAL                      Date:      April 11, 2025
22   CAPACITY AS SECRETARY OF THE                      Time:      9:00 a.m.
     DEPARTMENT OF HOMELAND                            Dept.:     Courtroom 4, 7th Floor
23   SECURITY; et al.,                                 Judge:     Hon. Jennifer L. Thurston

24                   Defendants.                       Date Filed: February 26, 2025

25                                                     Trial Date: None set

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                    [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY INJUNCTION
                                      Case No. 1:25-cv-00246-JLT-BAM
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 1                                           [PROPOSED] ORDER

 2             Plaintiffs Motion for Preliminary Injunction came before this Court on April 11, 2025.

 3   Having considered Plaintiffs’ Motion and supporting papers, Defendants’ Opposition and

 4   supporting papers, and the arguments of counsel, the Court finds that Plaintiffs have demonstrated

 5   a strong likelihood of success on the merits; that, absent an injunction, they face immediate,

 6   irreparable injury from Defendants’ actions: and that the balance of the equities and the public

 7   interest favor immediate injunctive relief.

 8             Therefore, the Court hereby GRANTS the motion and orders the following:

 9             •   Border Patrol is enjoined from conducting detentive stops in this district unless there is

10                 reasonable suspicion that the person stopped is a noncitizen present within the United

11                 States in violation of U.S. immigration law, as required by the Fourth Amendment of

12                 the United States Constitution.

13             •   Border Patrol is enjoined from effecting warrantless arrests in this district unless there

14                 is probable cause that the noncitizen being arrested is likely to escape before a warrant

15                 can be obtained, as required by 8 U.S.C. § 1357(a)(2).

16             •   Any Border Patrol agent who conducts a detentive stop in this District must, as soon

17                 as practicable, document the facts and circumstances surrounding the stop in narrative

18                 form. This documentation shall include the specific, particularized facts that supported

19                 the agent’s reasonable suspicion that: (i) for vehicle stops, the vehicle contained a

20                 noncitizen present within the United States in violation of U.S. immigration law; and

21                 (ii) for stops on foot, the person stopped was a noncitizen within the United States in

22                 violation of U.S. immigration law. The documentation shall also include the date and

23                 time that the agent completed it.

24             •   Any Border Patrol agent who conducts a warrantless arrest in this District must

25                 comply with all requirements set forth in DHS’s “Broadcast Statement of Policy” on

26                 compliance with 8 U.S.C. § 1357(a)(2), including but not limited to the requirement

27                 that as soon as practicable after an arrest, agents document in writing “the facts and

28                 circumstances surrounding the warrantless arrest” and the “specific, particularized

                                                      1
                    [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY INJUNCTION
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 1                 facts supporting the conclusion that the [individual] was likely to escape before a

 2                 warrant could be obtained.”

 3             •   Every 60 days until this litigation is terminated or the Court rules otherwise, Border

 4                 Patrol shall release to Plaintiffs’ counsel the above-described documentation

 5                 describing Border Patrol’s detentive stops and warrantless arrests within this District,

 6                 or if requested by Plaintiffs’ counsel concerning specific individual detentive stops or

 7                 warrantless arrests, no later than seven days after the request.

 8             •   Within 60 days of this order, Defendants will submit to the Court and Plaintiffs’

 9                 counsel a directive setting forth guidance to Border Patrol agents concerning how they

10                 should determine whether “reasonable suspicion” exists when conducting detentive

11                 stops, including vehicle stops, in this District. This guidance will include, among other

12                 things, that refusal to answer questions does not, without more, constitute a basis for

13                 reasonable suspicion to justify a detentive stop.

14             •   Within 90 days of this order, Defendants will submit to the Court and Plaintiffs’

15                 counsel documentation showing that they have trained Border Patrol agents who have

16                 performed or will perform Border Patrol operations in this District on the requirements

17                 articulated in the bullets above.

18

19   IT IS SO ORDERED.

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     Dated: _______                   _________________________________________________
22                                          HON. JUDGE JENNIFER L. THURSTON
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                    [PROPOSED] ORDER GRANTING MOTION FOR PRELIMINARY INJUNCTION
                                      Case No. 1:25-cv-00246-JLT-BAM
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